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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 2:16cv14413
             TAVARES DOCHER, by and through
             JANICE DOCHER-NEELEY, his mother
             and legal guardian,
                       Plaintiff,
             -vs-
             CHRISTOPHER NEWMAN, individually,
             CLAYTON MANGRUM, individually,
             CALVIN ROBINSON,individually, WADE
             COURTEMANCHE, individually, KEN J.
             MASCARA, as SHERIFF of ST. LUCIE COUNTY,
             Florida, JOSE ROSARIO, individually,
             and the ST. LUCIE COUNTY FIRE DISTRICT,
             an independent special district

                      Defendants.
             __________________________________/



                        DEPOSITION OF CAPTAIN BRIAN GONZALEZ


                                      May 22, 2017
                                 9:58 a.m. - 12:24 p.m.

                               5160 N.W. Milner Drive,
                             Port St. Lucie, Florida, 34980




                             Stenographically Reported By:
                             Barbara J. Shandell, RPR, FPR
                            Notary Public, State of Florida




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                  ALSO PRESENT: KIM SABOL, ESQ.
       19
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        1      The following proceedings began at 9:58 a.m.:

        2                   THE COURT REPORTER: Would you raise

        3             your right hand please.

        4                   Do you solemnly swear that the

        5             testimony you are about to give will be

        6             the truth, the whole truth, and nothing

        7             but the truth?

        8                   THE WITNESS:     I do.

        9      Thereupon,

       10                        CAPTAIN BRIAN GONZALEZ,

       11      having been first duly sworn or affirmed, was examined

       12      and testified as follows:

       13                          DIRECT EXAMINATION

       14      BY MR. HECHT:

       15             Q.    Good morning, sir.

       16             A.    Good morning.

       17             Q.    My name is Adam Hecht.      I represent

       18      Tavares Docher.    Today we're here to take your

       19      deposition in this matter.

       20                   Could you please state your full name.

       21             A.    Brian Gonzalez.

       22             Q.    What's your date of birth?

       23             A.

       24             Q.    Where are you currently employed?

       25             A.    St. Lucie County Fire District.


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        1             Q.    How long have you been an employee there?

        2             A.    Since 18 years now.

        3             Q.    Currently what is your position?

        4             A.    Captain of the training and safety

        5      division.

        6             Q.    How long have you held that position for?

        7             A.    As a captain, since October 25th.

        8             Q.    Of what year?

        9             A.    2016.

       10             Q.    Explain for me what are your

       11      responsibilities and your role as the captain of

       12      training and safety division.

       13             A.    I am in charge of all training and safety

       14      issues when it comes to the St. Lucie County Fire

       15      District.

       16             Q.    When you say the St. Lucie County Fire

       17      District, does that include paramedics, EMS,

       18      firefighters?

       19             A.    Yes.

       20             Q.    Is there anyone else that you oversee the

       21      training and safety issues for besides EMS, paramedics

       22      and firefighters?

       23             A.    On nonuniformed employees, I do deal with

       24      some of their training also.

       25             Q.    What's your involvement with the


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        1      nonuniformed employees?

        2             A.     If I have to assign like back training or

        3      that type of stuff, like non-EMS type training, we

        4      also include the non-uniformed personnel.

        5             Q.     Since October 25, 2016, have you

        6      implemented any policies, procedures, rules or

        7      regulations as it pertains to the training and safety

        8      issues of paramedics that work at the St. Lucie County

        9      Fire District?

       10             A.     We have updated the guidelines, EMS

       11      guidelines.

       12             Q.     When you say that you updated EMS

       13      guidelines, what does that mean?

       14             A.     We have an EMS Guideline Committee.        The

       15      EMS guidelines are a live document.       As they need

       16      updated, we make the recommendation up the chain of

       17      command.

       18             Q.     Who is made up of the EMS Guideline

       19      Committee?

       20             A.     It's a group of personnel throughout the

       21      district.

       22             Q.     How many people make up that committee?

       23             A.     I am not sure.

       24             Q.     Can you name the people that make up that

       25      committee?


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        1             A.      I don't have their names on me.

        2             Q.      Can you name any of the people that make

        3      up that committee?

        4             A.      I can tell you who the chair of the

        5      committee is, which is Flight Paramedic Matt Nielson.

        6             Q.      Anyone else you can name beside

        7      Mr. Nielson?

        8             A.      Mr. Nielson is in charge of the group of

        9      personnel on that committee, so unless I can get into

       10      a list, I would be guessing.

       11             Q.      Are you on that committee?

       12             A.      I oversee the committee.

       13             Q.      When you say you oversee the committee,

       14      what does that mean?

       15             A.      I sit on it and make sure they are making

       16      recommendations that are within the scope of practice.

       17             Q.      Does the committee vote on what needs to

       18      be updated in the EMS guidelines for the St. Lucie

       19      County Fire District?

       20             A.      They review the guidelines, make

       21      recommendations within the committee for those updates

       22      and they get recommendations from a person in the

       23      field to look into and then they make those

       24      recommendations and they go up the chain of command.

       25             Q.      When you say once they make those


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        1      recommendations and they go up the chain of command --

        2      strike that.

        3                        When you say they review the guidelines

        4      and make recommendations and they go up the chain of

        5      command, who makes up that chain of command?

        6               A.       Those guidelines will go to me as part of

        7      the training safety.        We send it up to the training

        8      chief.        If everybody agrees, it gets sent to the

        9      medical director to make the final decision on whether

       10      it gets implemented.

       11               Q.       Who's the training chief?

       12               A.       At this time it is Chief Jennifer

       13      Chambers.

       14               Q.       Who's the medical director?

       15               A.       Chi Chiou Liu.

       16               Q.       Are you able to tell me as you sit here

       17      today, since you've come on as the captain of Training

       18      and Safety Division on October 25, 2016, what in the

       19      EMS guidelines have been updated?

       20               A.       Not off memory.

       21               Q.       But have there been updates in the

       22      St. Lucie County Fire District EMS Guidelines since

       23      you took office on October 25, 2016?

       24               A.       Yes.

       25               Q.       Are you able to tell me any updates as you


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        1      sit here today or is that simply not possible for you

        2      to do?

        3               A.   Not off memory.

        4               Q.   Have there been any updates since you've

        5      taken the position of the captain of Training and

        6      Safety Division on October 25, 2016, involving the

        7      administration of sedatives to patients by paramedics?

        8               A.   I would have to look at our training files

        9      to give you a definite answer.

       10               Q.   Are your training files located in this

       11      building?

       12               A.   Yes.

       13               Q.   Do you have them with you today?

       14               A.   No, sir.

       15               Q.   Are you able to get them today?

       16               A.   If you gave me time, I would be able to

       17      get that information.

       18               Q.   Maybe when we take a break, I'd like to

       19      have you get the updates that have been instituted by

       20      the committee and you since you've taken office

       21      regarding the administration of Ativan; is that

       22      something you could easily do today?

       23               A.   Do you want a specific protocol?

       24               Q.   I would like any updates that have been

       25      added, amended, instituted, changed, to the medical


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        1      guidelines since you've taken office regarding the

        2      administration of Ativan?

        3             A.     I can get you a summary of changes.        If

        4      you want each specific guideline that has to do with

        5      Ativan, it's going to require a little bit of

        6      research, a little bit more time.

        7             Q.     So maybe that's something that I can

        8      request from your attorney if that's going to take too

        9      much time today.

       10                    As you sit here today, are you able to

       11      tell me how many changes have been made since you've

       12      taken office regarding the administration of Ativan?

       13             A.     No, sir.    Not without doing the research.

       14             Q.     As you sit here right now, are you able to

       15      tell me -- strike that.

       16                    Backing up a little bit, what was your

       17      position on May 11, 2014, at the St. Lucie County Fire

       18      District?

       19             A.     Was that the date of the incident?

       20             Q.     Yes.

       21             A.     I was a station officer, lieutenant

       22      station officer, station three.

       23             Q.     Tell me what a station officer at station

       24      three, when you were a lieutenant, did as part of the

       25      St. Lucie County Fire District?


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        1             A.     I oversaw all the daily operations for

        2      that station.

        3             Q.     Were you involved at that time in

        4      instituting, modifying, altering, creating, any

        5      policies and procedures as it relates to the

        6      administration of Ativan for paramedics that work at

        7      the Port St. Lucie Fire District?

        8             A.     I was part of the EMS Guideline Committee.

        9             Q.     So on May 11, 2014, you were part of the

       10      EMS Guideline Committee and currently as you sit here

       11      today, you oversee the committee, correct?

       12             A.     That's correct.

       13             Q.     So is it actually considered a more

       14      involved role now that you have the committee versus

       15      back in May of 2014?

       16             A.     It's a different job.

       17             Q.     How does being just a part of the EMS

       18      Guideline Committee differ than being, as you said,

       19      the person who oversees the committee?

       20             A.     Being part of the EMS Guideline Committees

       21      you are involved in making recommendations and doing

       22      research on what's new and upcoming.        Overseeing the

       23      committee, I take those recommendations, give my

       24      opinion, and move it up the chain of command.

       25             Q.     Currently if you disagree with the


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        1      committee, can you strike down any recommendation that

        2      the committee makes prior to you taking it up the

        3      chain of command?

        4             A.     I go back to the committee and we have a

        5      discussion and as a group we either alter the

        6      recommendation or we keep it as is, depending on

        7      who -- on the discussion.

        8             Q.     In May of 2014, who was it that oversaw

        9      the committee?

       10             A.     I am not sure.

       11             Q.     Was there someone that oversaw the

       12      committee in May of 2014?

       13             A.     I am not sure.

       14             Q.     You were part of the committee in May

       15      of 2014, correct?

       16             A.     Yes.

       17             Q.     So explain to me the makeup of the

       18      committee?

       19             A.     You had members of the committee and then

       20      there was a chair.     As far as the chain of command

       21      above that, I'm not sure who the chair reported to.

       22             Q.     Who was the chair?

       23             A.     Mark Cristaldi.

       24             Q.     Was Mark Cristaldi a

       25      paramedic/firefighter?


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        1             A.     I know he was an officer, but what rank at

        2      that time, I'm not sure.

        3             Q.     Does Mark Cristaldi still work at the

        4      St. Lucie County Fire District?

        5             A.     Yes.

        6             Q.     What is his position today?

        7             A.     He's a station officer.

        8             Q.     Was Mark Cristaldi the chair prior to you

        9      becoming the chair?

       10             A.     We co-chaired it for awhile.

       11             Q.     What were the dates that you co-chaired

       12      the committee?

       13             A.     I'm not 100 percent sure.      I couldn't tell

       14      you.

       15             Q.     Why is it that Mark Cristaldi no longer

       16      continued to co-chair the committee with you?

       17             A.     It is a volunteer position that you

       18      volunteer.    It is not an assignment and he did it for

       19      awhile and I cannot answer that question for him.

       20             Q.     Currently where is your office located?

       21             A.     Here in the administrative building.

       22             Q.     What's the address?     Where are we?

       23             A.     I have to look.     5160 Northwest Milner

       24      Drive, Port St. Lucie, Florida, 34983.

       25             Q.     Is this where you come to work every day?


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        1             A.     Yes, sir.

        2             Q.     Tell me what a typical day is like for

        3      you.

        4             A.     There is no typical day.      It's what

        5      hits -- whatever we get hit with whenever we come in.

        6             Q.     Well, you are the captain of training in

        7      the safety division, correct?

        8             A.     Correct.

        9             Q.     Do you actually respond to any calls?

       10             A.     I do not get dispatched to any calls.

       11             Q.     Does your day involve staying in this

       12      building?

       13             A.     Sometimes.

       14             Q.     And then when you're not in this building,

       15      where are you?

       16             A.     At the stations.

       17             Q.     And at the station, is that where you

       18      perform training?

       19             A.     Sometimes.

       20             Q.     And where else would you perform training?

       21             A.     In this building.

       22             Q.     So if you're not in the station and you're

       23      not in this building, where else would you perform

       24      training?

       25             A.     At the college.


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        1             Q.     Do you teach?

        2             A.     Are you asking do I teach aside from being

        3      with St. Lucie County Fire District?

        4             Q.     Yes.

        5             A.     Yes, I do.

        6             Q.     Where you do teach?

        7             A.     Indian River State College.

        8             Q.     What do you do teach there?

        9             A.     At this moment I teach EMT lab.

       10             Q.     What is EMT lab?

       11             A.     Emergency medical technician.       I teach

       12      their lab, their hands-on skills.

       13             Q.     My understanding from speaking to

       14      Paramedic Rosario, that there's a difference between

       15      EMTs and paramedics, correct?

       16             A.     Correct.

       17             Q.     EMTs do not administer any medication,

       18      correct?

       19             A.     EMTs administer very few medications.

       20             Q.     What medication --

       21             A.     They can assist -- I'm sorry, they can

       22      assist with very few medications.

       23             Q.     But paramedics have the discretion to

       24      administer medications to patients out in the field,

       25      correct?


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        1              A.     Yes.

        2              Q.     Do you currently have any involvement in

        3      training paramedics?

        4              A.     Yes.

        5              Q.     What does that consist of?

        6              A.     I ensure that all paramedics meet the

        7      required CEUs to maintain their State of Florida

        8      certificate, and I also run the apprenticeship

        9      program.

       10              Q.     What's the apprenticeship program?

       11              A.     Paramedic apprenticeship program.       Before

       12      any paramedic gets released into the field as a

       13      primary paramedic, they have to go through an

       14      apprenticeship program and pass the apprenticeship

       15      program.

       16              Q.     How long does the apprenticeship program

       17      last for?

       18              A.     It could be anywhere from three months to

       19      a year.

       20              Q.     Is that field work or classroom work?

       21              A.     Both.

       22              Q.     You said you run it, so what does that

       23      mean?     Do you actually teach anything?

       24              A.     No.     I maintain their paperwork and ensure

       25      they pass all their tests and keep track of their


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        1      progress prior to allowing them to have a release

        2      interview with myself and Dr. Chi Chiou Liu.

        3             Q.     In your role as the captain of training in

        4      the safety division, explain to me the difference

        5      between what it is that you do on the training side

        6      versus the safety side.

        7             A.     They're all one.

        8             Q.     So just tell me, what does it mean when

        9      you say you're the captain of training in the safety

       10      division?

       11             A.     Safety division is part of safety.        At the

       12      end of the day, we have to make sure we keep ourselves

       13      safe and there is -- whether it's back training, scene

       14      safety training to ensure that we are kept safe, and

       15      it's training.     It's all one.

       16             Q.     And in addition to keeping the paramedics

       17      and the EMTs safe, is it also part of your

       18      responsibility to ensure that the employees, the

       19      paramedics and the EMTs keep the patient safe?

       20             A.     Are you asking me have we done any

       21      training on that?

       22             Q.     I'm asking you as part of your

       23      responsibilities as the captain of training and safety

       24      division, is it part of your responsibility to train

       25      the paramedics and EMTs how to keep patients in the


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        1      field safe?

        2             A.      We don't have any training modules, but it

        3      is -- what's discussed during their training here

        4      with -- during apprenticeship program and during their

        5      training to receive their license.

        6             Q.      Are you involved in the training of EMTs

        7      or paramedics?

        8             A.      Yes.

        9             Q.      Tell me how it is that paramedics

       10      specifically are trained at the St. Lucie County Fire

       11      District?

       12             A.      We try to hit every possible aspect of

       13      training.     There's a hands-on component that we make

       14      sure they have hands-on training, whether it's in the

       15      field or here at admin.

       16                     There is educational, which we do through

       17      a program that we have that's called target solutions,

       18      that we send out training modules that they have to do

       19      on their own, and so that way we can hit both hands-on

       20      and educational.

       21             Q.      And you spoke about this target solution

       22      training manual, what is that?

       23             A.      It's a training module, it's a software.

       24      That's the software that we use to get training out to

       25      personnel at once.


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        1             Q.     And as part of that training module, is

        2      there any training contained within that module

        3      relating to the administration of Ativan?

        4             A.     I would have to look back at the training.

        5      That reverts back to your prior question that you

        6      asked me, has there been any changes.        If there are

        7      changes, then there was training.

        8                    MR. NEWMAN:     I just want to make

        9             sure I'm clear on the question, you mean

       10             specifically with regard to the target

       11             solutions?

       12                    MR. HECHT:     Yes.

       13                    MR. NEWMAN:     Did you understand

       14             that's what he asked?

       15                    THE WITNESS:     Yes.

       16      BY MR. HECHT:

       17             Q.     Let me just make sure that I'm clear, as

       18      part of the training that paramedics undergo, you said

       19      that there's hands-on training and there's educational

       20      training, correct?

       21             A.     Correct.

       22             Q.     And this hands-on educational training,

       23      does this last for a period of one year?

       24             A.     They are not in their apprenticeship

       25      program.    This is anything new or any updates that we


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        1      have to do, we ensure that 100 percent of our

        2      personnel get the training before we make any type of

        3      implementation.

        4             Q.     So am I correct that as part of your role

        5      as the chair of the EMS Guideline Committee, if

        6      there's any changes or updates to the medical

        7      guidelines, then the paramedics have to go through

        8      hands-on as well as educational training, correct?

        9             A.     The EMS Guideline Committee, their sole

       10      job is to make recommendations.       They do not implement

       11      anything, they make recommendations.        It goes up the

       12      chain of command, whether those recommendations get

       13      implemented or not.

       14             Q.     And once the committee goes up the chain

       15      of command, it's up to the doctor and the training

       16      chief whether those recommendations are implemented,

       17      correct?

       18             A.     At the end of the day, Dr. Liu makes the

       19      final decision.

       20             Q.     And if Dr. Liu approves the

       21      recommendation, is it correct that all of the

       22      paramedics will go through both hands-on and

       23      educational training as it was relates to those

       24      updates?

       25             A.     Depending on the type of training.        Some


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                                                                       Page 21
        1      training modules require hands-on only, some require

        2      only educational.     Some require both.

        3             Q.      So my question for you is, have there

        4      been, since the time that you have been the chair of

        5      the EMS Guideline Committee, any updates regarding the

        6      administration of Ativan that paramedics have had to

        7      learn in the target solution training module?

        8             A.      It goes back to the way I answered your

        9      past question, I would have to look and see what

       10      training we have implemented since I've been in

       11      training.    I can give you that summary of changes, but

       12      not at this time.

       13             Q.      Now my understanding is that when someone

       14      wants to become a paramedic, they have to first be

       15      trained as an EMT, correct?

       16             A.      That's correct.

       17             Q.      Once someone is an EMT, how long is the

       18      process by which they have to go through in order to

       19      become a paramedic?

       20             A.      According to the State of Florida, you can

       21      enter the paramedic program once you have an EMT

       22      certificate.

       23             Q.      Does the St. Lucie County Fire District

       24      have any sort of training program that EMTs have to go

       25      through in order to become a paramedic at the


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        1      St. Lucie Fire District?

        2             A.     It is called the apprenticeship program.

        3      If you are -- Let me back up.       Depends if you get

        4      hired on as a paramedic or hired on as an EMT.

        5             Q.     If you get hired on as a paramedic, do you

        6      go through the apprenticeship program?

        7             A.     If you get hired on as a paramedic, you

        8      still -- even though you're a state certified

        9      paramedic, you still have to go through St. Lucie

       10      County Fire District Paramedic Apprenticeship Program.

       11             Q.     How long does that apprenticeship program

       12      last for?

       13             A.     As I said earlier, three months to a year.

       14             Q.     In May of 2014, what role did you have in

       15      the apprenticeship program?

       16             A.     I did not.

       17             Q.     So you did not in any way have any sort of

       18      involvement with teaching, training, educating

       19      individuals going through the apprenticeship program

       20      in May of 2014?

       21             A.     I was a station officer.      So my answer is

       22      no.

       23             Q.     Where did you go to high school?

       24             A.     Vero Beach High School.

       25             Q.     And after high school did you go on to any


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                                                                       Page 23
        1      further education?

        2             A.     Went to IRSC.

        3             Q.     That stands for what?

        4             A.     Indian River -- at the time it was Indian

        5      River Community College.      At the time it was IRCC,

        6      Indian River Community College.

        7             Q.     Is that a two-year or four-year program?

        8             A.     Well, two-year program.      That's also where

        9      I went to paramedic school, EMT school and fire

       10      school.

       11             Q.     So it's a two-year program, and what did

       12      you graduate with?

       13             A.     My Associate's in Science at that time,

       14      from IRSC.

       15             Q.     And then after graduating with an

       16      Associate's in Science, what did you do?

       17             A.     During that time, that was part of my

       18      paramedic/EMT/fire.

       19             Q.     During the two-year program that you were

       20      at Indian River Community College --

       21             A.     Yes.

       22             Q.     -- you received your EMT license?

       23             A.     Yes.

       24             Q.     You received your paramedic license?

       25             A.     Yes.


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        1               Q.   What was the third thing you said?

        2               A.   My fire standards.

        3               Q.   So after obtaining those licenses, what

        4      did you do?

        5               A.   You're mixing everything together.        Things

        6      didn't happen one after the other.        I went to IRSC,

        7      got my EMT fire, hired on with several departments,

        8      ended up getting hired on here, and then I went to

        9      paramedic school.

       10               Q.   Let's just go in order.      At Indian River

       11      Community College, it was a two-year program,

       12      graduated with your Associate's in Science, correct?

       13               A.   No.    I started attending IRCC.

       14               Q.   You attended IRCC?

       15               A.   Yes.

       16               Q.   While attending, what did you study?

       17               A.   Went to core classes, EMT and fire.

       18               Q.   And you got your license in EMT and fire?

       19               A.   Yes.

       20               Q.   After that?

       21               A.   I got hired on.

       22               Q.   By who?

       23               A.   City of Winter Haven.

       24               Q.   What did you do for the City of Winter

       25      Haven?


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                                                                       Page 25
        1              A.     Firefighter/EMT.

        2              Q.     How long did you work there for?

        3              A.     Approximately a year.

        4              Q.     Where did you go after that?

        5              A.     Brevard County Fire Rescue.

        6              Q.     How long did you work there for?

        7              A.     Approximately a year.

        8              Q.     What did you do for Brevard County?

        9              A.     Firefighter/EMT.

       10              Q.     After Brevard?

       11              A.     Got hired on with St. Lucie County Fire

       12      District.

       13              Q.     What year did you start working at the

       14      St. Lucie County Fire District?

       15              A.     July 7, 2000.

       16              Q.     What was your position at that time?

       17              A.     Firefighter/EMT.

       18              Q.     When did you get your paramedic license?

       19              A.     Shortly after.

       20              Q.     What year?

       21              A.     I would have to look at my records.

       22              Q.     Shortly after 2000, though?

       23              A.     Yes.

       24              Q.     Were you a part of the apprenticeship

       25      program?


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                                                                       Page 26
        1               A.       Once I became a state certified paramedic,

        2      at that time I went through the apprenticeship

        3      program.

        4               Q.       Tell me what the apprenticeship program

        5      consisted of when you went through it.

        6               A.       It's a list of tests.    You had to take

        7      tests.        You had to review your guidelines, you have to

        8      sit in front of a panel, hands-on skills, and also so

        9      many -- certain amount of interventions in the field

       10      while being supervised.

       11               Q.       How long did your apprenticeship program

       12      last for?

       13               A.       I would have to go back in my records to

       14      find out how long I was in the program.

       15               Q.       You don't know if it was three months or a

       16      year?

       17               A.       It was somewhere between three months and

       18      a year.

       19               Q.       And has the apprenticeship program changed

       20      at all from the time you went through it --

       21               A.       Yes.

       22               Q.       -- to the present day?

       23               A.       Yes.

       24               Q.       How has it changed?

       25               A.       It has just been cleaned up.


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                                                                       Page 27
        1              Q.    When you say cleaned up, what does that

        2      mean?

        3              A.    We practice medicine, everything changes

        4      every day.    So we have to make sure that the

        5      apprenticeship program goes hand in hand with our

        6      guidelines.     Any time the guidelines changes, the

        7      apprenticeship program has to change.

        8              Q.    When you went through the apprenticeship

        9      program in 2000, were you trained how to properly

       10      administer Ativan to patients in the field?

       11              A.    When I came in in 2000, Ativan was not on

       12      the rescue trucks.

       13              Q.    When did Ativan become part of the rescue

       14      trucks?

       15              A.    I would have to look at our general orders

       16      to find out exactly when it came on.

       17              Q.    Currently as part of the apprenticeship

       18      program, those that go through the program, are they

       19      trained how to properly administer Ativan to patients

       20      in the field?

       21              A.    Yes.

       22              Q.    And are you involved in that training?

       23              A.    Yes.

       24              Q.    In 2014, were you involved in that

       25      training?


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                                                                       Page 28
        1              A.     No.

        2              Q.     So in 2014, who was it that was in charge

        3      of the apprenticeship program?

        4              A.     I'm not sure.

        5              Q.     In 2013, who was it that was in charge of

        6      the apprenticeship program?

        7              A.     I'm not sure.

        8              Q.     In 2006, who was in charge of the

        9      apprenticeship program?

       10              A.     I'm not sure.

       11              Q.     Juno Paramedic Jose Rosario --

       12              A.     Yes.

       13              Q.     -- have you spoken to him prior to the

       14      deposition today?

       15                     MR. NEWMAN:    You mean about this?

       16      BY MR. HECHT:

       17              Q.     Yes.   Let me rephrase the question.

       18                     Prior to your deposition today, have you

       19      spoken to Jose Rosario regarding the deposition he

       20      gave in this case?

       21              A.     No.

       22              Q.     Do you oversee Jose Rosario currently?

       23              A.     Currently direct supervision, no.

       24              Q.     When you say direct supervision, do you

       25      have any supervision over him whatsoever?


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        1             A.     As a training officer, we ensure all

        2      training is done, so I keep in contact with all

        3      paramedics through their station officer.

        4             Q.     Are you involved currently in sanctioning

        5      or disciplining paramedics as it relates to their

        6      performance out in the field?

        7             A.     I do not issue discipline, only

        8      recommendations.

        9             Q.     Again, do you issue those recommendations

       10      at the chain of command?

       11             A.     Yes.

       12             Q.     Who is it that you issue disciplinary

       13      recommendations to when we talk about the chain of

       14      command?

       15             A.     It would be Chief Jennifer Chambers.

       16             Q.     In 2014, were you involved in recommending

       17      disciplinary actions against any paramedics?

       18             A.     No.

       19             Q.     In 2006, were you involved in recommending

       20      any disciplinary actions against any paramedics?

       21             A.     I am not sure.

       22             Q.     You've been employed at the St. Lucie

       23      County Fire District for 17 years, correct?

       24             A.     Yes.

       25             Q.     Tell me all of the positions that you've


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        1      held?

        2              A.     Firefighter/EMT, firefighter/paramedic,

        3      lieutenant field training officer, lieutenant station

        4      officer, lieutenant training and safety division,

        5      captain training and safety division.

        6              Q.     Can you tell me the years you were

        7      firefighter/EMT?

        8              A.     When I got hired on in 2000, I would have

        9      to go through human resources to find out the rest of

       10      my timeline.

       11              Q.     So you can't tell me the years that you

       12      were a firefighter/EMT, correct?

       13              A.     No.

       14              Q.     And you can't tell me the years that you

       15      were a paramedic in the field?

       16              A.     No.

       17              Q.     And you can't tell me the years you were a

       18      lieutenant field training officer?

       19              A.     No.

       20              Q.     You can't me tell me the years you were a

       21      lieutenant station officer?

       22              A.     No.

       23              Q.     You can't tell me the years that you were

       24      a lieutenant of training in the safety division?

       25              A.     No. October 25th.


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        1             Q.     Let's go back.       What were the years that

        2      you were the lieutenant of the training and safety

        3      division?

        4             A.     I can tell you when I started being the

        5      captain in the training and safety division, it was

        6      October 25th of 2016.

        7             Q.     And currently who do you report to?        You

        8      said it's the Chief, Jennifer --

        9             A.     Chief Jennifer Chambers.

       10             Q.     In May of 2014, who did you report to?

       11             A.     We're going through some chiefs retiring,

       12      so I believe at that time -- you know what, I would

       13      have to find out.     I would have to go through human

       14      resources because we had some retirement and there was

       15      a couple of different chiefs at that time.

       16             Q.     We've been talking a lot about the medical

       17      guidelines, did you bring a copy of those guidelines

       18      with you today?

       19             A.     What year?

       20             Q.     2014.

       21             A.     Yes, sir.

       22             Q.     Could I see them.

       23                    Before we launch into that, could we take

       24      a brief restroom break?

       25                    MR. HECHT:    Yes.


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        1                    (A brief recess was taken.)

        2      BY MR. HECHT:

        3             Q.     Captain, before we took the break, I was

        4      asking you if you brought the medical guidelines with

        5      you today.

        6             A.     I did not bring the entire medical

        7      guidelines, but I do have the areas where Ativan is

        8      mentioned.

        9             Q.     Can I see those.

       10                    We'll go ahead and discuss that.

       11             A.     Discuss these?

       12             Q.     Yes, we'll discuss what you brought with

       13      you.

       14             A.     Okay.

       15             Q.     But before we do that, I'm going to ask

       16      you, because I see you have a file in front of you of

       17      the things you brought, so tell me what it is that you

       18      brought with you today to this deposition.

       19             A.     I have the guidelines that Ativan is

       20      mentioned in.    I have -- these are also the guidelines

       21      back here.

       22             Q.     Can I see those?

       23             A.     There's a repeat of what I just gave you.

       24             Q.     What you just handed me, is this exactly a

       25      copy of what you just gave to me?


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        1              A.     Yes, I believe so.

        2              Q.     I'll give that back to you.

        3              A.     This is the run report.

        4              Q.     Is it six pages?

        5              A.     Yes.

        6              Q.     What else?

        7              A.     This was given to me, I haven't looked at

        8      it.   This was an events report.

        9              Q.     Can I see that?

       10              A.     I don't know what that is.       I haven't had

       11      a chance to look at it.

       12              Q.     I'll hand that back to you.

       13                     What else do you have with you?

       14              A.     This is the signature form that was part

       15      of the one report that we are required to have signed

       16      by either the patient or the ER, saying we basically

       17      have taken that patient to the ER.

       18              Q.     Okay.

       19              A.     EKG strips.

       20              Q.     These EKG strips, were these taken out in

       21      the field when the paramedics were treating

       22      Mr. Docher?

       23              A.     These are part of the EMS run report, so

       24      these were attachments of the EMS run report.

       25              Q.     Does that mean that the paramedics when


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        1      they were treating Mr. Docher, hooked him up to an

        2      EKG?

        3               A.   Yes.     These are statements from both --

        4      from the personnel that there at the scene.

        5               Q.   Can I see those statements?

        6               A.   Yes.

        7               Q.   Thank you.

        8                    So the statements that you just handed me,

        9      these are all St. Lucie County Fire District personnel

       10      statements, correct?

       11               A.   That's correct.

       12               Q.   What else do you have with you?

       13               A.   Run report.     This is another copy of the

       14      event report.       This is a public records request that

       15      was made for the guideline and the guidelines are in

       16      there.

       17               Q.   Okay.

       18               A.   This is that event log again.       Okay.   It's

       19      a medication test that was taken by Rosario back in

       20      '07, when he was in the apprenticeship program.

       21               Q.   Anything else?

       22               A.   No.     I mean, there's more in there, but

       23      it's just guidelines again, same thing, copies of the

       24      guidelines.

       25               Q.   You've already shown me those?


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        1             A.     Yes.   It's the same copies of the same

        2      thing I just gave you.

        3             Q.     Now, Captain Gonzalez, you have been

        4      identified as the person or persons with the most

        5      knowledge from the St. Lucie County Fire District set

        6      forth in the attached Exhibit A, which is contained in

        7      this notice of taking deposition duces tecum, which

        8      we'll mark as Exhibit 1.

        9                    (Plaintiff's Exhibit No. 1 was marked for

       10             Identification by the reporter.)

       11             Q.     Have you seen this duces tecum before?

       12             A.     Yes.   Yes, I did see this.

       13             Q.     Again, it's listed you as the person or

       14      persons with the most knowledge from the St. Lucie

       15      County Fire District set forth in the attached

       16      Exhibit A, so I'd like to go to Exhibit A, which is

       17      contained within Plaintiff's 1, and take a look at one

       18      through 10 for me.

       19                    Have you seen one through 10 before?

       20             A.     Yes.

       21             Q.     And is it correct that you are the person

       22      with the most knowledge regarding numbers one through

       23      10?

       24             A.     I am the person with the most involvement

       25      in these areas.


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        1             Q.     Is there someone else that I should be

        2      speaking to besides you regarding areas one through

        3      10?

        4             A.     That would be a decision for you to make.

        5      I can tell you what I'm involved in.

        6             Q.     Well, I requested to speak with the person

        7      with the most knowledge regarding numbers one through

        8      10, contained in Exhibit A of Plaintiff's 1, so I want

        9      to make sure I'm speaking to the right person with the

       10      most knowledge regarding those areas that are listed

       11      one through 10.

       12                    Are you the person with the most knowledge

       13      regarding areas one through 10 contained in Exhibit A?

       14             A.     I am the person with the most involvement.

       15      I cannot account for other people's knowledge.          I can

       16      tell you that I am the one with the most involvement

       17      in these areas.

       18             Q.     All right.

       19                    And then going to Exhibit B in

       20      Plaintiff's 1, it asks for you to bring these things

       21      with you today.     Have you brought Exhibit B and all

       22      the items contained in Exhibit B with you today?

       23             A.     We have done the best to get everything

       24      that we need from these areas.

       25             Q.     Let's go through them under Exhibit B.


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        1      Number one, the official policies and customs and

        2      practice of the St. Lucie County Fire District

        3      regarding the administration of sedatives, such as

        4      Ativan by its employees, including Jose Rosario.

        5                    Did you bring that document with you?

        6               A.   We don't have policies, we have

        7      guidelines.

        8               Q.   Did you bring the guidelines with you

        9      today?

       10               A.   Yes.    That is part of the EMS Guidelines,

       11      the ones I just showed you.

       12               Q.   Could you take those out for me please.

       13               A.   Can I rephrase that question.

       14               Q.   You mean answer?

       15               A.   Answer.

       16               Q.   Sure.

       17               A.   When it comes to patient care, we have

       18      guidelines.

       19               Q.   So under Exhibit B, number one, I asked

       20      for the official policies and customs and practices of

       21      the St. Lucie County Fire District regarding the

       22      administration of sedatives, such as Ativan by its

       23      employees, including Jose Rosario, and is it correct

       24      that the St. Lucie County Fire District does not have

       25      written policies customs and practices regarding the


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        1      administration of sedatives?

        2              A.    We have EMS medical guidelines.

        3              Q.    And you brought those guidelines with you?

        4              A.    They're right here, yes.

        5                    (Plaintiff's Exhibit No. 2 was marked for

        6              Identification by the reporter.)

        7                    MR. HECHT: What I'd like to do is

        8              mark the guidelines as Plaintiff's 2.

        9                    MR. NEWMAN:    What was one?

       10                    MR. HECHT:    It was the duces tecum.

       11      BY MR. HECHT:

       12              Q.    When we talk about Plaintiff's

       13      Exhibit 2, which is the guidelines regarding the

       14      administration of Ativan, what year were those

       15      guidelines in existence from?

       16              A.    These guidelines were revised May 5,

       17      2013 -- May of 2015 -- Sorry, May of 2013.         Not all of

       18      them.

       19                    Do we need to go through each one when

       20      they were revised?

       21              Q.    Explain to me what you mean.

       22              A.    The EMS Guideline is a living document,

       23      meaning you can revise a small portion of the

       24      guideline without revising the entire guideline.          So

       25      we put dates on the bottom of each individual


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        1      guideline that was revised, that way we know when that

        2      specific guideline was revised.

        3             Q.     Okay.   Can I see that.

        4                    Looking at the heading sedation --

        5             A.     Yes.

        6             Q.     -- tell me when the sedation guidelines

        7      were revised.

        8             A.     May 5, 2013.

        9             Q.     And are those the guidelines related to

       10      sedation in May of 2014?

       11             A.     Yes.

       12             Q.     So that sedation guideline would have been

       13      in existence and active when Jose Rosario treated

       14      Tavares Docher on May 11, 2014?

       15             A.     Yes.

       16             Q.     Has the sedation guidelines been revised

       17      since May 5, 2013?

       18             A.     I would have to look.

       19             Q.     And did you bring with you any documents

       20      in regards to Number 2, that states the official

       21      policies and customs and practices of the St. Lucie

       22      County Fire District regarding whether sedatives such

       23      as Ativan are to be administered incrementally?

       24             A.     That is the guideline that we were looking

       25      at.


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                                                                       Page 40
        1             Q.     And that guideline was in effect on

        2      May 11, 2014?

        3             A.     Correct.

        4             Q.     Did you bring with you number three under

        5      Exhibit B, the official policies and customs and

        6      practices of the St. Lucie County Fire District

        7      regarding the administration of sedatives such as

        8      Ativan in patients with a medical history of alcohol

        9      use, mental illness or both?

       10             A.     This is the guideline that we go by.        We

       11      do have a pharmacology section that's also part of the

       12      guideline.

       13             Q.     Anywhere in Exhibit 2 that you've brought

       14      with you today, is there any mention of the

       15      administration of Ativan in patients with the medical

       16      history of alcohol use, mental illness or both?

       17             A.     I would have to look through the document.

       18             Q.     Take your time.

       19             A.     In regards to sedation?

       20             Q.     Yes, sir.

       21             A.     In regards to sedation, there is no

       22      mention.

       23             Q.     Are you aware if there has ever been a

       24      mention contained within the St. Lucie County Fire

       25      District guidelines, any mention of the administration


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        1      of Ativan in a patient with a history of alcohol or

        2      mental illness?

        3             A.     I am not sure.

        4             Q.     So is it correct that in May of 2014,

        5      there was no policy, procedure, custom or guideline

        6      that directed paramedics who chose to administer a

        7      sedative to a patient with a medical history of

        8      alcohol use or mental illness?

        9             A.     From the information that I have gathered

       10      in sitting here in front of you, no.

       11             Q.     Did you bring with you number four, the

       12      customs, policies and practices of the St. Lucie

       13      County Fire District regarding the review of run

       14      reports to determine if care and treatment is

       15      consistent with existing policies in the best

       16      interests of the patient?

       17             A.     Yes.

       18             Q.     Could you show me that please.

       19                    Number five, did you bring with you the

       20      official written policies of the St. Lucie County Fire

       21      District?

       22             A.     Policies for what?

       23             Q.     Is there a general written set of policies

       24      that is given to paramedics that are employed at the

       25      St. Lucie County Fire District?


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                                                                       Page 42
        1             A.     We have an area in our target solution

        2      software that has all of the EMS policies.

        3             Q.     Did you bring that with you?

        4             A.     No, I did not.

        5             Q.     Why not?

        6             A.     It had nothing to do with sedation.        I

        7      brought everything that had to do with sedation and

        8      with this call, but it wouldn't be a problem if you

        9      wanted me to print them all up.

       10             Q.     Okay.   Exhibit 2 that you brought with you

       11      is how many pages?

       12             A.     This one?

       13             Q.     Yes.

       14             A.     Eight pages.

       15                    (Plaintiff's Exhibit No. 3 was marked for

       16             Identification by the reporter.)

       17      BY MR. HECHT:

       18             Q.     I'm going to show you what we'll mark as

       19      Exhibit 3.    This is 600 pages, Exhibit 3.

       20                    Have you seen the emergency medical

       21      guidelines contained in Exhibit 3 before?

       22             A.     Yes.

       23             Q.     What is this?

       24             A.     This is our guidelines that we were -- we

       25      used to work under.


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                                                                       Page 43
        1             Q.     And do you continue to work under the

        2      guidelines that are contained in Exhibit 3?

        3             A.     No.

        4             Q.     Why not?

        5             A.     What exhibit is this?

        6             Q.     Exhibit 3.

        7             A.     The guidelines that you showed me,

        8      Exhibit 3, was a regional guideline.        Many

        9      participating agencies were part of this guideline.

       10      When it was time for its update, all agencies decided

       11      to go on their own.

       12             Q.     What was the year that the medical

       13      guidelines that I just handed you, which we marked as

       14      Exhibit 3, was no longer in use by the St. Lucie

       15      County Fire Department?

       16             A.     I'm not sure.

       17             Q.     Do you know if on May 11, 2014, those

       18      emergency medical guidelines were in use and active by

       19      the St. Lucie County Fire District?

       20             A.     They were not.

       21             Q.     So is it your testimony that the emergency

       22      medical guidelines that I just handed you contained in

       23      Exhibit 3, were no longer used by the St. Lucie County

       24      Fire District on May 11, 2014?

       25             A.     That's correct.


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        1             Q.     But you don't know when it is that the

        2      St. Lucie County Fire District stopped utilizing those

        3      emergency medical guidelines?

        4             A.     No, I do not.

        5             Q.     Could you find that out for me?

        6             A.     Yes, I can.

        7                    (Plaintiff's Exhibit No. 3 was marked for

        8             Identification by the reporter.)

        9      BY MR. HECHT:

       10             Q.     Exhibit 2 that you brought with you, and

       11      specifically the heading sedation, looks to me to be

       12      identical to the sedation section that's contained

       13      within Plaintiff's Exhibit 3.

       14                    So I'm going to have you look at

       15      Plaintiff's Exhibit 3 and show me if there's been any

       16      changes between what you've brought with you which

       17      you've told me is in effect today?

       18             A.     I did not say that.

       19             Q.     You did not say that?

       20             A.     No, sir.

       21             Q.     Well, then let's go back.

       22                    Exhibit 2 that you brought with you today,

       23      which is the guidelines, is that currently in use

       24      today by the St. Lucie County Fire District?

       25             A.     I'm not sure if it has been updated or


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        1      not.   That's when I had told you I would look into

        2      what has and has not been updated.        This guideline is

        3      what was in use the day that you had mentioned.

        4             Q.     So Exhibit 2, and the heading sedation and

        5      the information contained within the sedation page,

        6      was in use by the St. Lucie County Fire District on

        7      May 11, 2014; is that correct?

        8             A.     That's correct.

        9             Q.     I'm going to show you Exhibit 2, sedation,

       10      and then Exhibit 3, sedation?

       11             A.     Okay.

       12             Q.     These documents look different, correct?

       13             A.     At a glance, yes.

       14             Q.     And are you able to tell me if the

       15      sedation section from Exhibit 3 was in use in May

       16      of 2014?

       17                    MR. NEWMAN:    Asked and answered.

       18             I'm objecting for the record.

       19                    THE WITNESS:    I have to take a look

       20             at it if you give me a moment.

       21      BY MR. HECHT:

       22             Q.     Okay.

       23             A.     Okay.   Your question again?

       24             Q.     My question was, the sedation page that's

       25      contained in Plaintiff's Exhibit 3, was that in use on


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                                                                       Page 46
        1      May 11, 2014, by the St. Lucie County Fire District?

        2             A.     No.

        3             Q.     And how do you know that?

        4             A.     Because this was 2009, this is 2013.

        5             Q.     So you looked at the bottom of the

        6      sedation page from Plaintiff's Exhibit 3, and because

        7      the bottom says October 7, 2009, that leads you to

        8      believe that this was not in use on May 11, 2014,

        9      correct?

       10             A.     If you're asking me do we refer to this

       11      page on 2014, the answer is no.       We refer to the 2013,

       12      because that's what was in effect in 2014.

       13             Q.     So no paramedic would have been utilizing

       14      any of the information that's contained on the

       15      sedation page in Plaintiff's Exhibit 3, correct?

       16             A.     This is Exhibit 3?

       17             Q.     Yes, sir.

       18             A.     No paramedic would have referenced this

       19      guideline in 2014.

       20             Q.     Understood.

       21                    So the document that was in existence and

       22      active and that would have been used by a paramedic

       23      for reference in May of 2014, is what you brought with

       24      you today, Plaintiff's Exhibit 2, heading sedation,

       25      correct?


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                                                                       Page 47
        1              A.     Correct.

        2              Q.     This is a medical guideline; is that

        3      correct?

        4              A.     Correct.

        5              Q.     Is it a policy and procedure that

        6      paramedics are supposed to follow when administering

        7      Ativan?

        8                     MR. NEWMAN:    Object to the form;

        9              asked and answered.

       10              A.     It is a guideline.      It is not a policy or

       11      procedure.

       12      BY MR. HECHT:

       13              Q.     And when you say guideline, that leads me

       14      to believe that they can essentially stray from the

       15      guideline; is that true?

       16                     MR. NEWMAN:    Object to the form.

       17                     You can answer.

       18              A.     They can come call for orders if they

       19      needed to deviate from these guidelines.

       20      BY MR. HECHT:

       21              Q.     Who would they call?

       22              A.     The ER.

       23              Q.     Would they speak to a physician?

       24              A.     Yes.

       25              Q.     Could they also call Dr. Chi?


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                                                                       Page 48
        1             A.     Chi Chiou Liu.

        2             Q.     I apologize, Chi Chiou Liu.

        3             A.     If they had a way of getting ahold of him,

        4      yes, he could have made that call.

        5             Q.     In 2014, did the paramedics have

        6      Dr. Chi Chiou Liu's cell phone number?

        7             A.     We don't give his information out.

        8             Q.     So it's correct that the paramedics in

        9      2014, did not have Dr. Chi Chiou Liu's cell phone

       10      number?

       11             A.     Correct.

       12             Q.     Did they have his office number?

       13             A.     I couldn't answer that, if he had his

       14      office number or not.

       15             Q.     How would the paramedics have gotten in

       16      touch with Dr. Chi Chiou Liu in an emergency if they

       17      needed to contact him when they were in the field?

       18             A.     These guidelines are Dr. Liu's offline

       19      medical direction.       That's his extension.    If they

       20      needed to get ahold of a -- to get online medical

       21      direction, they would call the ER.

       22             Q.     Well, again, back to my question, if a

       23      paramedic was out in the field and needed to talk to

       24      Dr. Chi Chiou Liu regarding the sedation guidelines,

       25      would they have been able to contact him?


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        1              A.     There would be no reason to contact

        2      Dr. Liu, these are offline medical directions.            If

        3      they needed assistance, they would call the ER for

        4      online medical direction.

        5              Q.     The answer is, if a paramedic in May

        6      of 2014 wanted to call Dr. Chi Chiou Liu, they would

        7      have no way of getting ahold of him in an emergency,

        8      correct?

        9                     MR. NEWMAN:    Object to the form.

       10                     You can answer.

       11              Q.     No, they don't need to get ahold of

       12      Dr. Chi Chiou Liu.

       13      BY MR. HECHT:

       14              Q.     I understand you're telling me they

       15      wouldn't need to get ahold of him because they have

       16      this guideline?

       17              A.     Right.

       18              Q.     I'm with you, I understand what you're

       19      saying.

       20                     My question is, if they wanted to contact

       21      him, they would not be able to because they did not

       22      have his phone number, correct?

       23              A.     Whether they had his phone number or not,

       24      I do not know.

       25              Q.     You just told me it was not given out,


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        1      correct?

        2             A.     It doesn't get given out, but if they have

        3      it -- I don't know if they have it or not.

        4             Q.     But it wasn't a policy in May of 2014 for

        5      the paramedics to have Dr. Chi Chiou Liu's number on

        6      them, correct?

        7             A.     Correct.

        8             Q.     Let's go through the sedation guideline.

        9             A.     Okay.

       10             Q.     Under sedation, it says indications,

       11      cardioversion, external pacing, combative patient,

       12      anywhere under the heading sedation in Exhibit 2 that

       13      you brought with you today, does it list any

       14      contraindications for Ativan?

       15             A.     No.

       16             Q.     Why not?

       17             A.     As the guideline says, it doesn't have it.

       18      When this guideline was put together, there was no

       19      need to put contraindication under it.

       20             Q.     Why not?

       21             A.     I don't know.

       22             Q.     Is it dangerous for the St. Lucie County

       23      Sheriff's Office not to have what the

       24      contraindications for Ativan administration is under

       25      the heading sedation?


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                                                                       Page 51
        1                    MR. NEWMAN:    Object to the form,

        2             and also you asked the St. Lucie County

        3             Sheriff's Office.

        4      BY MR. HECHT:

        5             Q.     Let me rephrase the question.

        6                    Is it dangerous for the St. Lucie County

        7      Fire Department not to have the contraindications for

        8      Ativan contained within the sedation page contained in

        9      the Exhibit 2?

       10                    MR. NEWMAN:    Object to the form.

       11             A.     Are you asking me for my opinion?

       12      BY MR. HECHT:

       13             Q.     Well, you are a captain at the Port St.

       14      Lucie Sheriff's Office and in charge of the training

       15      in the safety division, so I'm asking based on that,

       16      is it dangerous not to have listed the

       17      contraindications for the administration of Ativan

       18      under the sedation heading?

       19             A.     No.

       20                    MR. NEWMAN:    Object to the form.

       21             Also, your question referred to him as a

       22             captain in the St. Lucie County Sheriff's

       23             Office.

       24                    MR. HECHT:    I apologize.    I

       25             understand you don't work for the


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                                                                       Page 52
        1             Sheriff's Office.

        2      BY MR. HECHT:

        3             Q.     I'll ask it again, as captain at the

        4      St. Lucie County Fire Department in charge of the

        5      training and safety division, is it dangerous not to

        6      have listed the contraindications for Ativan contained

        7      within the sedation heading on Exhibit 2?

        8                    MR. NEWMAN:    Object to the form.

        9             A.     No.

       10      BY MR. HECHT:

       11             Q.     Why not?

       12             A.     There is no contraindications in the

       13      emergency setting for Ativan.

       14             Q.     Explain that to me, sir.

       15             A.     There's a difference between the emergency

       16      setting and the nonemergency setting.        Ativan can be

       17      given for many different reasons.        Depending on the

       18      situation, there may not be a contraindication.          There

       19      are cautions, but no contraindications.

       20             Q.     Is that how you train your paramedics at

       21      the Port St. Lucie Fire Department, that there's no

       22      contraindication for Ativan in an emergency setting?

       23             A.     We make them aware of the cautions that

       24      they need to be aware of when administering Ativan.

       25             Q.     And I understand that you're telling me


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        1      about the cautions, but my question is more specific,

        2      is it a part of the training and culture at the Port

        3      St. Lucie Fire Department that the paramedics are not

        4      trained in the contraindications for Ativan use in an

        5      emergency setting?

        6              A.     Can I refer to the guideline real quick?

        7              Q.     Sure.

        8                     MR. NEWMAN:    I object to the form

        9              of the question.     Just so we're clear for

       10              the record, the organization is the

       11              St. Lucie County Fire District, it's not

       12              the Port St. Lucie, and it's also not fire

       13              department.    So the St. Lucie County Fire

       14              District.

       15      BY MR. HECHT:

       16              Q.     Do you understand so far that all the

       17      questions I've asked you are involving your role and

       18      position and experience working at the St. Lucie

       19      County Fire District?

       20              A.     Yes.

       21              Q.     Sir, you've had a chance to look at --

       22              A.     Yes.

       23              Q.     Exhibit 2.

       24                     Would you like me to ask the question

       25      again?


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                                                                       Page 54
        1               A.    Yes.

        2               Q.    Is it correct that as part of the training

        3      and culture at the St. Lucie County Fire District,

        4      that paramedics are not trained on the

        5      contraindications for Ativan use or administration in

        6      an emergency setting?

        7               A.    They are trained not to give Ativan if the

        8      patient is hypersensitive to it.

        9               Q.    How would a paramedic know if a patient is

       10      hypersensitive to Ativan administration?

       11               A.    If that information is given to them on

       12      scene.

       13               Q.    Who would give the paramedic that

       14      information?

       15               A.    Either family members or the patient.

       16               Q.    What if the patient is not able to speak?

       17               A.    If the patients are not able to speak, we

       18      look for medical alert tags to see if they are

       19      hypersensitive or have any allergies to medication.

       20               Q.    What if there's no medical alert tag?

       21               A.    If there's no medical alert tag, we weigh

       22      out the risk versus gain.

       23               Q.    Is that discretionary to the paramedic?

       24               A.    Yes.

       25               Q.    As part of the training that paramedics go


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        1       through in the apprenticeship program, are they
        2       trained on the contraindications of Ativan
        3       administration?
        4              A.      The contraindications as per our
        5       protocols.
        6              Q.      And is the only contraindication for
        7       Ativan administration hypersensitivity?
        8              A.      As per our protocols.
        9              Q.      Are you aware of any other
       10       contraindications for Ativan administration
       11       administered intramuscularly to a patient?
       12              A.      No.
       13              Q.      Are you aware if head trauma is a
       14       contraindication to Ativan administration
       15       intramuscularly?
       16                      MR. NEWMAN:     Object to the form.
       17                      MR. JOLLY:    Join.
       18                      MR. NEWMAN:     You can answer.
       19              A.      No.
       20       BY MR. HECHT:
       21              Q.      Are you aware if alcohol use is a
       22       contraindication to the administration of Ativan
       23       injected intramuscularly?
       24              A.      No.
       25              Q.      Are you aware if excited delirium is a


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        1      contraindication to the administration of Ativan

        2      injected intramuscularly?

        3                     MR. NEWMAN:   Object to the form.

        4             A.      I would have to look at our excited

        5      delivery and protocol.

        6      BY MR. HECHT:

        7             Q.      Sitting here right now, are you able to

        8      answer that?

        9             A.      No.

       10             Q.      Do you have protocols in front of you

       11      related to excited delirium that you could look

       12      through to answer that question?

       13             A.      I would have to pull the guidelines from

       14      2013 and actually look at our protocol at that time.

       15             Q.      Are you aware that metabolic acidosis is a

       16      contraindication for the administration of Ativan

       17      injected intramuscularly?

       18                     MR. NEWMAN:   Form.

       19             A.      No.

       20      BY MR. HECHT:

       21             Q.      Are you aware if the use of narcotics is a

       22      contraindication for the use of Ativan injected

       23      intramuscularly?

       24                     MR. NEWMAN:   Form.

       25             A.      No.


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        1      BY MR. HECHT:

        2             Q.     Are you aware if someone is suffering from

        3      respiratory depression -- strike that.

        4                    Is respiratory depression a

        5      contraindication for Ativan use injected

        6      intramuscularly?

        7                    MR. NEWMAN:    Object to the form.

        8             A.     No.

        9      BY MR. HECHT:

       10             Q.     You do not know?

       11             A.     All the nos I'm answering, they are not

       12      contraindications per our protocol.        The only

       13      contraindication is hypersensitivity.

       14             Q.     And everything that I've asked you so far,

       15      do you have any personal knowledge whether anything I

       16      just mentioned is a contraindication for the use of

       17      Ativan injection -- excuse me, strike that.

       18                    Let me just phrase it this way, are you

       19      aware if head trauma, alcohol use, narcotic use,

       20      metabolic acidosis, respiratory depression, are

       21      contraindicated for Ativan to be injected

       22      intramuscularly based on any personal knowledge that

       23      you have?

       24                    MR. NEWMAN:    Form objection.

       25                    MR. JOLLY:    Join.


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        1             A.     As per our protocol, no.      Above and beyond

        2      that, I don't know.

        3      BY MR. HECHT:

        4             Q.     Let's talk about the sedation protocol

        5      that you have in front of you.

        6                    It says benzodiazepines may cause

        7      respiratory depression or compromise, correct?

        8             A.     Correct.

        9             Q.     Is that something that the paramedics

       10      would have been trained on in 2014?

       11             A.     Yes.

       12             Q.     When administering, observe for signs of

       13      hypotension or respiratory depression, they would have

       14      been aware of that in 2014?

       15             A.     Yes.

       16             Q.     ALS stands for advanced life support; is

       17      that correct?

       18             A.     Correct.

       19             Q.     Under the second bullet point, says Ativan

       20      one milligram increments to a max of four?

       21             A.     Correct.

       22             Q.     What were the paramedics trained to do

       23      regarding that bullet point in 2014?

       24             A.     Regarding the Ativan, one milligram

       25      increments to a max of four milligrams?


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        1             Q.     Yes, sir.

        2             A.     The paramedic can give one milligram up to

        3      four milligrams of Ativan.

        4             Q.     Is that discretionary?

        5             A.     They cannot go over four milligrams

        6      without a physician consult.

        7             Q.     Is it the custom policy and practice of

        8      the St. Lucie County Fire District to have its

        9      paramedics in 2014 decide whether to inject a patient

       10      with between one to four bolus milligrams to a patient

       11      in the field?

       12                    MR. NEWMAN:    Form.

       13             A.     It was depending on the situation, every

       14      situation is different, they have the ability to make

       15      that decision.

       16      BY MR. HECHT:

       17             Q.     Was it the custom, policy, practice of the

       18      St. Lucie County Fire District in May of 2014, to give

       19      its paramedics the discretion to administer one single

       20      four-milligram dose of Ativan intramuscularly to a

       21      patient in the field?

       22                    MR. NEWMAN:    Form.

       23             A.     The paramedic has that discretion.

       24      BY MR. HECHT:

       25             Q.     Was it the custom, policy and practice of


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        1      paramedics employed by the St. Lucie County Fire

        2      District in May of 2014, to administer intramuscularly

        3      one single four-milligram dose to patients in the

        4      field?

        5                    MR. NEWMAN:     Form.

        6               A.   They have that discretion.

        7      BY MR. HECHT:

        8               Q.   In 2014, are you aware of how many times a

        9      paramedic injected a four-milligram dose of Ativan to

       10      patients during that year?

       11               A.   Without doing some research and some

       12      digging, I would not be able to give you that off the

       13      top of my head.

       14               Q.   Do you have the capability of finding out

       15      that information?

       16               A.   I have the ability to look and see if I

       17      can find that information.       Whether I can retrieve

       18      that information is a different story.

       19               Q.   The word increment, what does that mean to

       20      you?

       21               A.   One right after the other, or increments.

       22               Q.   Like one, then two, then three --

       23               A.   Correct.

       24               Q.   -- then four.

       25               A.   (Witness nods head.)


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        1              Q.     Is it incorrect that a paramedic in May

        2      of 2014, did not have to first inject a patient with

        3      one milligram, wait, monitor the patient and then if

        4      they decide to administer a second milligram, for a

        5      total of two milligrams, that's not what this policy

        6      says, correct?

        7                     MR. NEWMAN:    Let me just object to

        8              the form of the question.

        9                     Go ahead.

       10              A.     If the policy were to state three to

       11      five minutes in between or if it gave a time frame in

       12      between increments, then yes.         In this case, it does

       13      not give a time frame of in between increments.            It

       14      allows the paramedic to give up to four milligrams

       15      without monitoring in between.

       16      BY MR. HECHT:

       17              Q.     How do you get to four milligrams if you

       18      don't begin with one milligram and work your way up

       19      incrementally?

       20                     MR. NEWMAN:    Object to the form.

       21      BY MR. HECHT:

       22              Q.     You do?

       23              A.     You give one milligram, right after that

       24      you give two, three, four.        It was written like that

       25      on purpose for the safety of our paramedics, for the


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        1      safety of police officers, the safety of the patient.

        2                    If the paramedic, in this case sedation,

        3      had -- was mild, mildly combative, anxiety, those type

        4      of signs and symptoms, they would give one milligram,

        5      see how it works, that patient is not a detriment to

        6      themselves or us.     If Rosario felt that there was a

        7      detriment, the patient was -- could cause harm to

        8      themselves, to him as a paramedic, or the people

        9      around him, he had the right to go straight to four

       10      milligrams.    One milligram increments, one after the

       11      other, those numbers, if you look on other guidelines,

       12      it gives you specifics, three to five minutes in

       13      between, two to three minutes in between.         This

       14      guideline does not.     For that reason, for the safety

       15      of the patient, for the safety of the paramedic and

       16      for the safety of others around him.

       17             Q.     So Paramedic Jose Rosario, do you agree

       18      with me, did not begin with one milligram of Ativan,

       19      wait a period of time and then give a second one

       20      milligram, wait a period of time, then give a third

       21      one milligram and then wait a period of time and then

       22      give a fourth one milligram?

       23             A.     I was not there, I could not tell you what

       24      Rosario did, but I can tell you what the guideline

       25      gives them the ability to do.


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        1              Q.    So just so that I'm clear, that if

        2      Paramedic Jose Rosario administered one single dose of

        3      four milligrams of Ativan, that is consistent with the

        4      St. Lucie County Fire District's guidelines for the

        5      injection of Ativan, correct?

        6              A.    That's correct.     It actually states it in

        7      the guidelines.

        8              Q.    Is this guideline that allows paramedics

        9      to inject a single four-milligram dose of Ativan to a

       10      patient the way that all paramedics employed by the

       11      St. Lucie County Fire District have been trained since

       12      at least 2012?

       13              A.    Paramedics have been trained, if one

       14      milligram of Ativan can -- is sufficient to fix the

       15      problem, they will give one milligram.        If they need

       16      to go to four milligrams because they feel the patient

       17      is in danger to themselves, to us as paramedics or to

       18      anybody else around, they have the option to go to

       19      four milligrams.

       20              Q.    And my question was, has the custom,

       21      policy and practice that allows paramedics to inject

       22      one single four-milligram dose to a patient, been in

       23      existence since at least December 18, 2012?

       24              A.    I can't say if it was in existence in

       25      2012.


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                                                                       Page 64
        1             Q.     According to Exhibit 2, under sedation, it

        2      looks like you have -- what says revised May 5, 2013?

        3             A.     Correct.

        4             Q.     So let me rephrase my question:       Is it

        5      correct that the custom, policy and practice of the

        6      paramedics employed by the St. Lucie County Fire

        7      District since May 5, 2013, have had the discretion to

        8      inject a single four-milligram dose of Ativan to

        9      patients out in the field?

       10             A.     Yes.

       11             Q.     If we go to page M-8 of Exhibit 2, the

       12      heading says pharmaceutical assisted intubation?

       13             A.     That's correct.

       14             Q.     Is it also correct that the custom, policy

       15      and practice of the St. Lucie County Fire District has

       16      given discretion since May 5, 2013, that allows Ativan

       17      to be administered in one single four-milligram dose

       18      post-intubation for the purposes of intubation?

       19             A.     Post-intubation?

       20             Q.     Yes, sir.

       21             A.     Ask that -- rephrase that or ask that

       22      question again.

       23             Q.     Sure.

       24                    Is it correct that on page M-8 of

       25      Exhibit 2, under the heading pharmaceutical assisted


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        1      intubation, that the custom, policy and practice at

        2      the St. Lucie County Fire District gave the paramedics

        3      discretion to inject one single four-milligram dose

        4      post-intubation to a patient for the purposes of

        5      sedation?

        6             A.     This is a guideline.     Are you asking, do

        7      they have the discretion to give one to

        8      four milligrams of Ativan, and the answer is yes?

        9             Q.     My specific question was --

       10             A.     You're putting post-sedation -- you're

       11      putting post-intubation and sedation in the same

       12      guideline, and you are looking at two completely

       13      different guidelines.

       14             Q.     Let's look at M-8.     What I want to know is

       15      where it says, under sedation, it says Ativan

       16      one-milligram increments to a max of four milligrams?

       17             A.     Correct.

       18             Q.     What is that referring to?

       19             A.     That is referring to post-intubation.

       20             Q.     So --

       21             A.     If you're sedating a patient due to

       22      post-intubation versus the guideline that we were

       23      previously at, which is we are sedating somebody due

       24      to a combative and violent patient, two completely

       25      different guidelines.


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                                                                       Page 66
        1             Q.     Let me be clear on page M-8, was it the

        2      custom, policy or practice of the St. Lucie County

        3      Fire District from May 5, 2013 going forward, to allow

        4      paramedics to administer one single four-milligram

        5      dose of Ativan post-intubation?

        6             A.     They have that discretion according to the

        7      guideline.

        8             Q.     If Jose Rosario in his deposition stated

        9      that he had injected approximately 50 to 100 people

       10      during the course of his career with one single

       11      four-milligram dose of Ativan, do you see anything

       12      wrong with that?

       13                    MR. NEWMAN:    Object to the form.

       14             A.     Every call is different.      I cannot answer

       15      that question.     I would have to look at each

       16      individual call to be able to say whether he was

       17      correct in administering those.

       18      BY MR. HECHT:

       19             Q.     Based on the customs, policies, practices,

       20      guidelines of the St. Lucie Fire District, would you

       21      agree with me that under those customs, policies and

       22      practices, that Medic Jose Rosario was allowed and it

       23      was appropriate for him to administer one single

       24      four-milligram dose of Ativan to a patient if he felt

       25      that the situation required such?


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                                                                       Page 67
        1                    MR. NEWMAN:     Object to the form.

        2             A.     Correct.

        3      BY MR. HECHT:

        4             Q.     During the apprenticeship program or any

        5      training that paramedics would have gone through in

        6      2014, were they ever trained regarding the

        7      administration of Ativan and how that may affect a

        8      patient that's under the influence of alcohol?

        9             A.     I wasn't part of the training division at

       10      that time.

       11             Q.     Is that something that at the present time

       12      paramedics are trained on?

       13             A.     As guidelines are updated, they are

       14      trained.

       15             Q.     As you sit here today, is it correct that

       16      you're not able to tell me whether currently

       17      paramedics are trained on how the administration of

       18      Ativan may affect someone that's under the influence

       19      of alcohol?

       20             A.     I am telling you, like I said earlier, we

       21      have updated our guidelines and there has been

       22      training on certain -- they're called the guidelines

       23      that were updated.       Whether or not sedation was one of

       24      them, I'm not sure.

       25                    MR. NEWMAN:     We've been going an


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        1             additional hour, so why don't we take a

        2             short break.

        3                     (A brief recess was taken.)

        4      BY MR. HECHT:

        5             Q.      Captain Gonzalez, are you aware of the

        6      training provided to Jose Rosario regarding the

        7      administration of Ativan when he was going through his

        8      paramedic training?

        9             A.      No.

       10             Q.      Number five, under Exhibit A, states that

       11      you would be the person with the most knowledge

       12      regarding the training provided to Jose Rosario

       13      regarding the administration of sedatives such as

       14      Ativan?

       15             A.      Correct.

       16             Q.      You had no knowledge of that?

       17             A.      I don't know -- I could find his records,

       18      but I couldn't tell you off the top of my head what

       19      his training is, but however, I do have a medication

       20      test that he had to take, which he scored a 99 on,

       21      that I have with me, but as far as anything else in

       22      the apprenticeship program, I would have to do

       23      research on.

       24             Q.      That test he scored a 99 percent on, that

       25      doesn't discuss whether or not the administration of


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        1      Ativan is contraindicated if someone is suffering from

        2      a mental illness or head trauma, or alcohol use or

        3      metabolic acidosis, does it?

        4             A.     That test is a direct reflection of our

        5      guidelines.    So that test -- those questions come

        6      directly from our guidelines, so if there's nothing in

        7      the guidelines, there's nothing on that test.

        8             Q.     And, therefore, would you agree with me

        9      that Paramedic Rosario, when he was going through his

       10      training and his apprenticeship, did not learn

       11      anything about the contraindications for Ativan

       12      besides hypersensitivity, correct?

       13             A.     According to our guidelines,

       14      hypersensitivity is the only contraindications for

       15      administering Ativan, so if the district were to

       16      supply him with any training, it would have been

       17      according to our guidelines.

       18             Q.     Again, the person that wrote the

       19      guidelines was who?

       20             A.     The person who wrote them?

       21             Q.     Yes.   How were the guidelines formulated?

       22             A.     The guidelines are put together from the

       23      guideline committee, which they make recommendations,

       24      they get interviewed by the training division, they

       25      get approved by the training chief, and then they go


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        1      to the medical director to give his final approval.

        2             Q.      And that's Dr. --

        3             A.      Chi Chiou Liu.

        4             Q.      He's the person that gives final approval,

        5      correct?

        6             A.      (Witness nods head.)

        7             Q.      And the committee and going up the chain

        8      of command are all people that are employed by the

        9      St. Lucie County Fire District, correct?

       10             A.      Correct.

       11             Q.      In May of 2014, was there a guideline that

       12      discussed combative patients?

       13             A.      I would have to look at the entire

       14      guideline.

       15             Q.      Let me show you what's been contained

       16      within Plaintiff's Exhibit 3, and the heading is

       17      combative patients, and I'll show that to you, page

       18      E-14 and page E-15.

       19                     MR. NEWMAN:    These are the

       20             guidelines he testified that were not in

       21             effect.

       22                     THE WITNESS:     I was going to say

       23             these guidelines are from 2006, which

       24             Rosario was not held to, just to let you

       25             know.


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        1      BY MR. HECHT:

        2             Q.     When Medic Rosario went through his

        3      training, wasn't that in 2006?

        4             A.     It was in 2006, but like I told you

        5      earlier, things change, so things that we did in 2006,

        6      we no longer do, it's called practicing medicine.

        7             Q.     Right.

        8             A.     So I can't -- only because we did it in

        9      2006, doesn't mean it's correct now.

       10             Q.     Understood.

       11                    So my question, though, is on May 11,

       12      2014, the document, the two-page document that I

       13      handed you which is contained in Plaintiff's

       14      Exhibit 3, entitled combative -- is it combative

       15      patients?

       16             A.     Combative patients.

       17             Q.     Combative patients.

       18                    Do you know if in May of 2014, that was in

       19      existence?

       20             A.     I would have to go back and look at what

       21      was in effect in 2014 as far as the guidelines.          I

       22      would have to look at the entire guideline book to see

       23      if that was -- I'm not sure if this was in the

       24      guidelines in 2014.

       25             Q.     I want to assume, because I'm going to ask


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        1      you questions about this, I want to assume that these

        2      were for my questions, okay.       I understand you're

        3      saying you don't know if they are, but I'm going to

        4      ask you questions about it.       I want you to know that's

        5      why I'm asking you.

        6                    All right.    Could I see that?

        7             A.     I need them back if you want me to look at

        8      it.

        9             Q.     No, I have my own copy.

       10             A.     Can I let you know what we're looking at?

       11             Q.     Yes.    I'll put it on the record.     We're

       12      looking at the emergency medical guidelines titled

       13      combative patients from what date?

       14             A.     2006?

       15             Q.     Yes.

       16             A.     What was the beginning page of this entire

       17      section?    No, of the section.

       18             Q.     I'll give the whole thing to you if you

       19      want to look at it.

       20             A.     What I'm telling you is, you're looking at

       21      the very beginning where it says medical emergency

       22      guidelines.    It's broken up -- that guideline, that

       23      old guideline was broken up in sections.         This is a

       24      section of that guideline.

       25                    What does the section say?


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        1               Q.     General medical.

        2               A.     These are educational guidelines, not

        3      treatment guidelines, so let's make sure that you

        4      separate the two.

        5               Q.     Okay.

        6               A.     We are discussing the educational section

        7      of the guidelines, not the treatment section of the

        8      guidelines, which are two completely different areas

        9      of the guideline, so the medical guidelines at that

       10      time.

       11               Q.     And what's the difference between the

       12      educational and --

       13               A.     The difference is the treatment section is

       14      how we're going to treat our patient.         The educational

       15      guideline is an overview of combative patients.            It

       16      educates you in that area.         We may or may not use

       17      those areas in our treatment guideline.

       18                      Our treatment is what Dr. Liu signs off

       19      on.     Our guidelines are something that you can look in

       20      a reference book and say these -- I'm educating you in

       21      combative patients.      We can write a novel on combative

       22      patients.      We are held to the standard of our

       23      treatment section, which is what we talked about

       24      earlier.      So just letting you know.

       25               Q.     Is it your position that in 2006, that the


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        1      combative patient educational guideline was not a

        2      custom, policy or practice that was to be followed by

        3      the paramedics employed by the St. Lucie County Fire

        4      District?

        5             A.     What I'm telling you is the combative

        6      patient section in the educational section was to

        7      educate personnel a little bit further outside of what

        8      Dr. Liu signed off on in the treatment section, just

        9      to better educate yourself because, again, the

       10      treatment section is a guideline, very specific

       11      guideline.    This is just generalized, just like it

       12      says, general guidelines educational section.

       13             Q.     Would you classify this combative patient

       14      portion of the emergency medical guidelines to be a

       15      policy and procedure in 2006?

       16                    MR. NEWMAN:    Object to the form.

       17             A.     Like I said, this is a place where people

       18      would go to educate themselves.       If you were to look

       19      at the combative patient, educational section, it also

       20      talks about Haldol.     We do not carry Haldol, we never

       21      carried Haldol.     It's just educating patients in the

       22      area of combative patients.

       23      BY MR. HECHT:

       24             Q.     And my specific question was, the

       25      combative patient portion of the 2006 emergency


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        1      medical guidelines, would you consider the combative

        2      patient portion to be a policy and procedure that

        3      paramedics were to follow in 2006 at the St. Lucie

        4      County Fire District?

        5                     MR. NEWMAN:   Form.

        6             A.      The paramedics will follow the treatment

        7      guideline.     They will go here to educate themselves

        8      further.     They will not -- they would follow what it

        9      says in the treatment guideline.

       10      BY MR. HECHT:

       11             Q.      So is it your testimony that the

       12      paramedics in 2006 did not have to follow this

       13      combative patient information contained in the

       14      emergency medical guidelines?

       15             A.      This is a guideline for them to look at

       16      the -- this is a guideline for them to take a look at

       17      to educate themselves, to educate -- the treatment

       18      section is where they would go to treat the patient.

       19             Q.      Were all paramedics in 2006 that were

       20      working at the St. Lucie County Fire District supplied

       21      with this combative patient information contained

       22      within the emergency medical guidelines?

       23             A.      Yes.

       24             Q.      Was it expected that those paramedics in

       25      2006 would follow the information contained within


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        1      this combative patient portion of the emergency

        2      medical guidelines?

        3             A.      All paramedics were expected to follow the

        4      treatment guideline.      If they wanted to educate

        5      themselves further, they would go into the educational

        6      section.

        7             Q.      Looking on page E-15, which is the second

        8      page, number five, should a patient become combative

        9      the following steps should be taken:        Look for

       10      potential etiologies and correct hypoxia, shock,

       11      excessive environmental stimulation.

       12                     B, the following physical restraints are

       13      authorized for use if, A, above does not work or

       14      apply, and then parentheses, it says apply before

       15      transport if it at all possible.

       16                     One, rayon webbing strapped across chest

       17      and legs.     Number two, hard extremity restraints.       And

       18      then, in parentheses, all four limbs.

       19                     Was that the policy of the St. Lucie

       20      County Fire District in 2006?

       21             A.      This is an overall educational guideline.

       22      It is not a policy, it is a guideline.        Did St. Lucie

       23      County fire have a policy to restrain patients on all

       24      four limbs?     Policy, no.   Guideline, yes.

       25             Q.      In 2006, did the St. Lucie Fire District


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        1      have any policies?

        2             A.     Yes.

        3             Q.     And did those policies involve the

        4      administration of Ativan?

        5             A.     I am not sure.

        6             Q.     In 2006, were there any policies regarding

        7      the physical restraining of a patient?

        8             A.     I'm not sure.

        9             Q.     Going to C, pharmacologic restraints may

       10      be used if physical restraints are not sufficient, or

       11      if continued combativeness may interfere with

       12      deliverance of proper medical care or may cause

       13      further harm to the patient?

       14             A.     Correct.

       15             Q.     What does that mean to you?

       16             A.     Pharmaceutical restraints may be used if

       17      physical restraints are not sufficient or if continued

       18      combative -- if they cannot be physically restrained,

       19      you can sedate them medically.

       20             Q.     So in 2006, was it a guideline of the

       21      St. Lucie County Fire District that paramedics should

       22      first try and use physical restraints to restrain a

       23      patient and then go to pharmacologic restraints?

       24             A.     According to this guideline, it says

       25      pharmaceutical restraints may be used if physical


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        1      restraints are not sufficient, or if continued

        2      combativeness may interfere with deliverance of proper

        3      medical care or may cause further harm.

        4               Q.       Yes, sir.

        5               A.       Right?

        6               Q.       Right.

        7                        So my question is, was it a guideline of

        8      the St. Lucie County Fire District in 2006, that

        9      pharmacologic restraints should be secondary to

       10      physical restraints if physical restraints were not

       11      sufficient?

       12                        MR. NEWMAN:   Object to the form,

       13               asked and answered.

       14               A.       It's at the discretion of the medic.     Are

       15      you talking about me restraining him, PD restraining

       16      him?     Their family member restraining them?        That's a

       17      decision for the medic to make when they come on

       18      scene.        At no point will they put themselves in harm's

       19      way, the patients or anybody else that's around.

       20      BY MR. HECHT:

       21               Q.       So is it your testimony that based upon C,

       22      on page E-15, that it was discretionary for the

       23      paramedic to decide whether or not to administer a

       24      pharmacologic restraint prior to attempting to use a

       25      physical restraint?


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        1             A.     You're asking me a question out of a

        2      generalized educational portion of the guideline.          It

        3      is in my experience and through the training division,

        4      that patients can be medically restrained if the medic

        5      feels the need.     If they feel there's a threat to the

        6      patient themselves, to the people around them or to

        7      themselves, they can take that route.         It is not

        8      secondary.

        9             Q.     Simply put, if a paramedic in 2006

       10      presented to the scene where there were officers

       11      around an individual that, let's say, is causing a

       12      disturbance, it's discretionary as to whether or not

       13      the paramedic administers a sedative or attempts to

       14      use some sort of physical restraint?

       15                    MR. NEWMAN:    Let me object to the

       16             form of the question.      Go ahead.

       17             A.     You're asking me to draw a line in the

       18      sand and every situation is different, so medics have

       19      the ability to make that decision on scene, depending

       20      on each and every situation.       Every situation is

       21      approached differently.

       22      BY MR. HECHT:

       23             Q.     What did you review prior to coming to

       24      this deposition today?

       25             A.     Well, I reviewed -- I looked -- I glanced


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        1      at the guidelines, glanced at the run report, and

        2      that's pretty much it, just glanced at everything.

        3             Q.     Did you review the St. Lucie County

        4      Sheriff's Office incident report?

        5             A.     I believe it was in there, but I didn't

        6      look at it.

        7             Q.     Do you know if when Medic Rosario arrived

        8      on scene, if Tavares Docher was acting intoxicated?

        9             A.     I was not there on scene, so I could not

       10      tell you whether he was or wasn't.        And we are not

       11      trained to make that decision.

       12             Q.     I'm asking you based on your review --

       13      well, strike that.

       14                    Did you read the St. Lucie County

       15      Sheriff's incident report?

       16             A.     No.

       17             Q.     Do you know if in this case, prior to the

       18      administration of Ativan if Tavares Docher was

       19      suffering from metabolic acidosis?

       20             A.     There would be no way of knowing.

       21             Q.     Do you know prior to the administration of

       22      Ativan if Tavares Docher was suffering from

       23      respiratory depression?

       24             A.     There would be no way of knowing.

       25             Q.     Do you know prior to the administration of


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        1      Ativan, if Tavares Docher told any of the officers

        2      that he was drinking alcohol?

        3             A.     I wasn't there.     I cannot say whether he

        4      told them that or not.

        5             Q.     If Tavares Docher told the officers that

        6      he had been drinking alcohol and Medic Rosario learned

        7      of that information, would it have been appropriate

        8      for Medic Rosario to inject four milligrams

        9      intramuscularly of Ativan to Tavares Docher?

       10                    MR. NEWMAN:    Object to the form.

       11             A.     Alcohol consumption is not a

       12      contraindication to give Ativan.

       13      BY MR. HECHT:

       14             Q.     How do you know that?

       15             A.     According to our guidelines, the only

       16      contraindication is hypersensitivity to Ativan.

       17             Q.     So, because the only contraindication is

       18      hypersensitivity, that means to all the paramedics

       19      that there is no other contraindications for Ativan,

       20      correct?

       21             A.     There's cautions.

       22             Q.     What are those cautions?

       23             A.     You want me to read them right from the

       24      guidelines?

       25             Q.     Sure.


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        1             A.     Caution, benzodiazepine may cause

        2      respiratory depression or compromise.        When

        3      administering, observe for signs of hypotension and

        4      respiratory depression.      Those are our cautions.

        5             Q.     Did you review Medic Rosario's actions in

        6      this case?

        7             A.     When you say I reviewed them?

        8             Q.     Do you know what his involvement was in

        9      this case?

       10             A.     I was his station officer.      So, did we

       11      have a discussion of the call back in 2014?         When he

       12      came back, I'm sure we did sit down and discuss the --

       13      critique the call, so to speak.

       14             Q.     Was he reprimanded in any way?

       15             A.     I am not sure.     Not that I know of.

       16             Q.     Was he disciplined in any way?

       17             A.     Not that I know of.

       18             Q.     Did he have to go through any further

       19      education or training as a result of his care to

       20      Tavares Docher?

       21             A.     Not that I know of.

       22             Q.     Is it your position here today that Jose

       23      Rosario complied with the customs, policies, and

       24      practices of the St. Lucie County Fire District in his

       25      treatment of Tavares Docher?


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                                                                       Page 83
        1             A.     Jose Rosario followed the St. Lucie County

        2      Fire District guidelines as were stated back in 2014.

        3             Q.     Putting it another way, did Medic Rosario

        4      in his treatment and care of Tavares Docher on May 11,

        5      2014, violate any of the customs, policies, practices

        6      or guidelines of the St. Lucie County Fire District?

        7             A.     As far as my knowledge, he followed the

        8      St. Lucie County Fire District guidelines.

        9             Q.     Have you ever injected four milligrams of

       10      Ativan to a patient intramuscularly or intravenously?

       11             A.     I would have to go back and look at all my

       12      reports.

       13             Q.     You're not able to tell me that sitting

       14      here today?

       15             A.     No.

       16             Q.     Benzodiazepines are central nervous system

       17      depressants, correct?

       18             A.     Yes.

       19             Q.     And is alcohol also a central nervous

       20      system depressant?

       21             A.     I would have to do some research.

       22             Q.     Does the St. Lucie County Fire District

       23      not train paramedics on the interaction of alcohol

       24      with the human body?

       25             A.     St. Lucie County Fire District trains the


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        1      paramedics as per the protocols and as per Dr. Liu's

        2      recommendations.

        3             Q.     Prior to administering Ativan to a

        4      patient, are paramedics trained to ask the patient

        5      whether or not they've ingested any alcohol or drugs?

        6             A.     No.

        7             Q.     When Tavares Docher was injected

        8      intramuscularly with the Ativan, do you know if he was

        9      handcuffed?

       10             A.     I wasn't there.     I don't know.

       11             Q.     Does the St. Lucie County Fire District

       12      have a policy as to whether or not a paramedic could

       13      inject someone if they're handcuffed with their hands

       14      cuffed behind their back?

       15             A.     I would have to look at the policy.        I can

       16      tell you I do know that if they are handcuffed, a

       17      police officer must be there with them.

       18             Q.     That's in the ambulance, correct?

       19             A.     Yes.

       20             Q.     So my question is, as you sit here today,

       21      are you aware if there is a policy in existence

       22      currently as to whether a paramedic is allowed to

       23      inject someone intramuscularly, with their hands

       24      cuffed, with police handcuffs behind their back?

       25             A.     There's no policy that I know of.


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                                                                       Page 85
        1             Q.     What about on May 11, 2014, was there a

        2      policy at the St. Lucie County Fire District that

        3      discussed whether it was appropriate to inject Ativan

        4      to a patient while they are cuffed with their hands

        5      behind their back?

        6             A.     There was not a policy that I know of.

        7             Q.     So would it have been appropriate and

        8      within the standard of care of paramedics working at

        9      the St. Lucie County First District in 2014, to inject

       10      someone with four milligrams of Ativan with their

       11      hands cuffed behind their back?

       12             A.     If the paramedic feels that their patient

       13      is in danger to themselves, to the paramedic or to

       14      anyone around them, yes, they have the ability to make

       15      that call.

       16             Q.     You reviewed the run report, correct?

       17             A.     Briefly.

       18             Q.     When I say the run report, is that the

       19      same thing as paramedics emergency six-page report?

       20             A.     Correct.

       21             Q.     It was Medic Rosario's intent to inject

       22      four milligrams of Ativan intramuscularly to Tavares

       23      Docher's buttocks, correct?

       24             A.     I have to look at the run report.        I was

       25      not there.    I can only go by what the run report says.


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        1                     According to Rosario's run report, he gave

        2      Ativan, four milligrams IM.

        3             Q.      In 2014, was Medic Rosario trained to

        4      aspirate the needle prior to injecting the Ativan?

        5             A.      If he was a release paramedic, which he

        6      was, all paramedics are trained on how to administer

        7      medications.

        8             Q.      Based on your review of the run report in

        9      this case and any other documents that you may have

       10      seen, do you have an opinion as to whether Medic

       11      Rosario hit a vessel?

       12             A.      I would not know.

       13             Q.      After being injected intramuscularly with

       14      a four-milligram dose of Ativan, how quickly does it

       15      take for the dosage to sedate someone?

       16                     MR. NEWMAN:   Object to the form.

       17             A.      Depending if it's intramuscular, IV.

       18      Intramuscular takes a little bit longer.         Again,

       19      educational guidelines, depending on what you read,

       20      where you read it, everybody has their opinion.           From

       21      what I understand, it could be 10, 15 minutes before

       22      you start seeing the effects of Ativan.

       23      BY MR. HECHT:

       24             Q.      And that's intramuscularly?

       25             A.      It's intramuscularly.


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        1               Q.   What about if it was intravenously?

        2               A.   It would be a little faster.

        3               Q.   How much faster?

        4               A.   Five to 10 minutes, I believe.       Again,

        5      that would be depending on what literature you read.

        6               Q.   In 2014, did paramedics have EMS approved

        7      restraints on their vehicles?

        8               A.   What do you mean?

        9               Q.   What sort of EMS approved restraints are

       10      typically on a paramedic's vehicle?

       11               A.   We have padded restraints.

       12               Q.   Would that have existed on Medic Rosario's

       13      vehicle in May of 2014?

       14               A.   I'm not sure if they were on there or not.

       15               Q.   Was there a policy in 2014 that stated

       16      that EMS approved restraints had to be on all the

       17      paramedics' vehicles?

       18               A.   I would have to look at the policies and

       19      procedures.

       20               Q.   You can't tell me that as you sit here

       21      today?

       22               A.   Not right now.

       23               Q.   So is it your testimony that there's times

       24      that paramedics are out in the field without EMS

       25      approved restraints on their vehicles?


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        1                    MR. NEWMAN:    Object to the form.

        2             A.     If the policy was out at that time, then

        3      they should have been on there.

        4                    MR. HECHT:    I don't have any other

        5             questions.    Thank you.

        6                    MR. JOLLY:    I have no questions.

        7                    MR. NEWMAN:    Very brief follow-up,

        8             Captain Gonzalez.

        9                           CROSS EXAMINATION

       10      BY MR. NEWMAN:

       11             Q.     With regard to guidelines for the use of

       12      Ativan, are there guidelines that do specify time

       13      intervals in between administration of milligrams?

       14             A.     Yes.

       15             Q.     Under what circumstances is Ativan

       16      administered or can Ativan be administered pursuant to

       17      your guidelines where there is a specified time

       18      interval between administrations?

       19             A.     That would be under the chest pain,

       20      cocaine overdose section.      It actually specifies that

       21      there is a time frame in between your increments.

       22             Q.     What is that time frame?      Do you know?

       23             A.     It's right here.

       24             Q.     What is that, sir?

       25             A.     According to our cocaine overdose


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                                                                       Page 89
        1      guideline, Ativan, one milligram every three to

        2      five minutes until relief of chest pain, to a maximum

        3      of four milligrams.

        4                     MR. NEWMAN:    Thank you, sir.      I

        5              have no further questions.

        6                     We are going to read the transcript

        7              if it's ordered.

        8                     MR. HECHT:    I'm going to order it.

        9                     THE REPORTER:     Do you want a copy?

       10                     MR. JOLLY:    Yes, please.

       11                     MR. NEWMAN:    Copy.    I want the

       12              errata sheet.

       13                     MR. HECHT:    Captain, I'm going to

       14              mark your entire file that you brought

       15              with today.    Thank you.

       16                     (Plaintiff's Exhibit No. 4 was marked for

       17              Identification by the reporter.)

       18                     (A discussion was held off the record.)

       19      BY MR. HECHT:

       20              Q.     I know there were some documents that you

       21      say you didn't bring with you that may exist or you

       22      have to go somewhere, I know some of the attorneys

       23      have scheduling matters, so I'm not going to ask you

       24      to do it now, but I may send a request and ask for

       25      certain things that you don't have with you today.


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        1              A.     If the attorney --

        2                     MR. HECHT:    I'll send it to your

        3              attorney and he may --

        4              A.     Whatever they request, I'll be more than

        5      happy to do my best to get what you need.

        6                     MR. HECHT:    Thank you.     Appreciate

        7              it.

        8                     MR. NEWMAN:    Okay.

        9                     MR. HECHT:    I'll mark the whole

       10              file as Exhibit 4.

       11                     (Plaintiff's Exhibit No. 4 was marked for

       12              Identification by the reporter.)

       13                     (Thereupon, the proceedings

       14              concluded at 12:24 p.m.)

       15

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                                   CERTIFICATE OF OATH

             THE STATE OF FLORIDA        )

             COUNTY OF ST. LUCIE         )




                           I, the undersigned authority, certify that

             CAPTAIN BRIAN GONZALEZ personally appeared before me

             and was duly sworn on the 22nd day of May, 2017.




             Signed this 27th day of May, 2017.




                           _________________________________

                           Barbara J. Shandell, RPR, FPR

                           Notary Public - State of Florida

                           My Commission No. FF 945479

                           My Commission Expires: January 27, 2020


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                                CERTIFICATE OF REPORTER



             THE STATE OF FLORIDA        )

             COUNTY OF ST. LUCIE         )



                           I, Barbara J. Shandell, Registered

             Professional Reporter, certify that I was authorized

             to and did stenographically report the deposition of

             CAPTAIN BRIAN GONZALEZ, pages 1 through 94; that a

             review of the transcript was requested; and that the

             transcript is a true and complete record of my

             stenographic notes.

                           I further certify that I am not a

             relative, employee, attorney, or counsel of any of the

             parties, nor am I a relative or employee of any of the

             parties' attorney or counsel connected with the

             action, nor am I financially interested in the action.



                           DATED this 27th day of May, 2017.




                           _____________________________

                           Barbara J. Shandell, RPR, FPR


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             May 27, 2017
             CAPTAIN BRIAN GONZALEZ
             c/o Benjamin Newman, Esquire
             WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER, LLP
             111 North Orange Avenue
             Suite 1200
             Orlando, Florida 32801

             IN RE: DOCHER VS. NEWMAN, et al.
             CASE NO.: 2:16CV14413

             Please take notice that on the 22nd day of May, 2017,
             you gave your deposition in the above cause. At that
             time you did not waive your signature.
             The above-addressed attorney has ordered a copy of
             this transcript and will make arrangements with you to
             read their copy. Please execute the Errata Sheet,
             which can be found at the back of the transcript, and
             have it returned to us for distribution to all
             parties.

             If you do not read and sign the deposition within a
             reasonable amount of time, the original, which has
             already been forwarded to the ordering attorney, may
             be filed with the Clerk of the Court.
             If you wish to waive your signature now, please sign
             your name in the blank at the bottom of this letter
             and return it to the address listed below.
             Very truly yours,
             Barbara J. Shandell, RPR, FPR
             Phipps Reporting
             1551 Forum Place, Suite 200E
             West Palm Beach, Florida 33401



             I do hereby waive my signature.


             _______________________________
             CAPTAIN BRIAN GONZALEZ

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                                  ERRATA SHEET
                 DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES HERE
                        IN RE: DOCHER VS. NEWMAN, et al.
                              CASE NO. 2:16CV14413
             WITNESS: CAPTAIN BRIAN GONZALEZ TAKEN: 05/22/2017


             PAGE    LINE       CHANGE        REASON FOR CHANGE
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                         Under penalties of perjury, I declare that
             I have read the foregoing document and that the facts
             stated in it are true.


             _______________        _______________________________
             Date                   CAPTAIN BRIAN GONZALEZ


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